Case:19-10938-JGR Doc#:10 Filed:02/12/19                     Entered:02/12/19 08:17:08 Page1 of 1



                                     United States Bankruptcy Court
                                      For the District of Colorado

    In re:                                            )
    Builtrite Builders, LLC                           )                       Bankruptcy Case No. 19-10938-JGR
                                                      )                                  Chapter 11
                                                      )
    Debtor(s).                                        )

                   DEFICIENCY NOTICE: DOCUMENTS DUE                     2/25/2019

The following missing documents are required for your case:
    • Statement of Financial Affairs
    • Summary of Assets and Liabilities
    • All Schedules: A/B, D, E/F, G, H




Your case is subject to dismissal if you fail to file the missing documents or otherwise request a
hearing in writing by the above date.1

Date: 2/12/2019                                   Kenneth S. Gardner, Clerk
                                                  U.S. Customs House, 721 19th Street, Denver, CO 80202

Create your “List of Creditors” online: http://www.cob.uscourts.gov/credentry/splash_creditor_entry.asp
The Official Bankruptcy Forms are available at http://www.uscourts.gov/forms/bankruptcy-forms
The Official Local Bankruptcy Forms are available at http://www.cob.uscourts.gov/forms/all-forms
For more information on how to file the missing document(s) or information about your case:
        Call: 720-904-7300
        Live Chat Online: www.cob.uscourts.gov

1
 See 11 U.S.C. § 521 and/or 11 U.S.C. §1116, Federal Rule of Bankruptcy Procedure 1007 and/or 3015, and/or
Local Bankruptcy Rule 1007-6, and 1007-7.
